       Case 1:24-cr-10090-WGY             Document 35          Filed 10/09/24       Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

     UNITED STATES OF AMERICA                         )
                                                      )
                           v.                         )       Docket No.: 24-CR-10090-WGY
                                                      )
     JASON HUNTER                                     )
                                                      )

                       ASSENTED TO MOTION TO CONTINUE TRIAL

        Counsel for Mr. Hunter files this assented to motion to continue the trial date, presently

scheduled for November 18, 2024. As grounds, the defendant requires additional time to review,

prepare for trial, as well as to discuss resolution with the government short of trial. This is the

first request for a continuance of the trial date set at the initial pretrial conference. Counsel

represents that she communicated about this request with the government, through Assistant

United States Attorney Katherine Ferguson, and the government assents to the request as stated.

Counsel similarly discussed the request with co-defendant counsel for Norton, and states that

Norton joins this request to continue. If granted, the parties will contact the Court with proposed

dates to reschedule.

                                                          Respectfully submitted,

                                                          JASON HUNTER
                                                          By his Attorney,

                                                          /s/ Cara McNamara
                                                          Cara McNamara
                                                          B.B.O. 712096
                                                          Assistant Federal Public Defender
                                                          Federal Public Defender Office
                                                          51 Sleeper Street, 5th Floor
                                                          Boston, MA 02210
                                                          Telephone: 617-223-8061
       Case 1:24-cr-10090-WGY            Document 35       Filed 10/09/24      Page 2 of 2




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
on October 9, 2024.

                                                     /s/ Cara McNamara
                                                     Cara McNamara
